Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 1 of 9 PageID: 127
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

Darius Gittens,
                                                                      Civil Action
           Plaintiff,                                            NO. 1:18-02519-(RBK)(KMW)


               V.                    =r                         NOTICE OF MOTION SEEKING
                                     J      R E C E I VsaFBIING         oF AMENDED COMPLAINT
Mildred Scholtz, et ai.,             i,,I       AUG 2 6 2019              EX PARTE
           Defendants.               I.     AT 8:30-.-:-::-:~~---M
                                               WILLIAM T. WALSH
--------------~·-                                   CLERK


            Please take notice that Darius Gittens, plaintiff, prose, in the above
 captioned          civil action, hereby gives NOTICE to Honorable Judg~·- Robert B.
                                                                                     ;

 Kugler, that pursuant FRCP 15 (1) (a) and (b) and pursuant the 7/23/2019
 Order and Opinion of Honorable Judge Robert B. Kugler a motion for screening
 of amended complaint, -(amended as a matter of course)-  which such proposed
 amended complaint is attached hereto), is made.



            And this NOTICE of MOTION is made returnable per Local Rule 78.1 (a),
 so that it falls on the         Third Monday of September which is September 16,2019.



            Lastly, this notice of    motion is served together with Certified Motion
 to Amend the complaint          that is combined with a brief in support thereof,
and the proposed amended complaint              that are all dated August 22, 2019; with
courtesy copy mailed to chambers of each such paper filed with Clerk.



                                                        Respectfully submitted.


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                                  SBI #875223E ID #1079439
                Northern State Prison, 168 Frontage Road, Newark, NJ., 07114
Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 2 of 9 PageID: 128




                                     UNITED STATES DISTRICT
                                 FOR THE DISTRICT OF NEW JERSEY

 Darius Gitten-s,                                                       CIVIL ACTION
                                                                 NO.. 1: 18-02519-(RBK) (KMW)
     Plaintiff,
                                                          CERTIFIED AFFIDAVIT AND COMBINED
            V.                         ..               BRIEF IN SUPPORT OF MOTION TO AMEND


                                                        COMPLAINT
 Mildred Scholtz, et al.,
                                                                        EX   PARTE
     Defendants.



      (1)        Darius Gittens, plaintiff, prose, does certify as true and correct
 pursuant 28 USC 1746, the foregoing affidavit with combined brief in support
 of this Honorable Court screening,              this amended (proposed) complaint.



      (2)        That this · proposed amended complaint is done as this Honorable
 Court suggested be done in its July 23,2019 Opinion.



       (3)        On   August    6,2019     plaintiff   dated   and   did    mail    a    motion   for
 reconsideration which substantially underpins the need for                              seeking this
 Honorable Court's screening of this proposed amended complaint.



       (4)       Honorable Judge Rober~ B.,Kugler in his (22) page 7/23/2019 Opinion
 and plaintiff's 8/6/2019 motion for reconsideration (ECF N0.20) brought to
 light certain words that were missing from the original (33) page complaint
  (ECF NO. 1) filed 2/23/2018.



       (5)        Plaintiff     will   now connect      in   chronological     fashion      why this
  proposed amended complaint needs be made and screened by this Court.
       Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 3 of 9 PageID: 129


....          (6)    Honorable Judge Robert B. Kugler at pages 9 and 10 of his 7/23/2019
       Opinion correctly points out the deficiency in plaintiff's initial complaint
       where plaintiff, pursuing a             "right to access to the courts claim under the
       First and Fourteenth Amendments." would need to allege an "actual injury"
       in the sense that he "lost a chance to pursue a 'nonf ri volous' or 'arguable'
       underlining claim and that ••. [he has] no other" remedy for the lost claim
       and that "the complaint must describe claim well enough to demonstrate that
       it is "more than mere hope" and describe the lost remedy". It is the intention
       of    plaintiff,      by the addition of the following paragraphs,                            that the word
       changes identified from the              initial          complaint     to    those     contained in       the
       proposed      amended     complaint,     as     described          below,    will     meet    the threshold
       facts and claim that are more clear to this Honorable Court that show that
       plaintiff is entitled to tolling (equitable tolling) so that                             every
       day spent in Burlington County Detention Center                             December 16 · 2015, through
       November 16, 2016 are considered timely as to 2 year statute of limitations.




              (7)     Plaintiff        respectfully         suggests       that     this     court     re-read    the
       complaint at paragraph 124, fifth line down after the word "for" and then
       read the proposed amended complaint and there is inserted the words "this
       instant".       This      was   re-worded       in    order     for    establishing          proper   factual
       predicate      that     establishes     that         this    law    suit     was     estopped    from     being
       constructed        with     facts,     ·names        of     persons,        dates,     times    and     places
       corresponding to chronological construction of the complaint; this estoppel
       by certain of these defendants prevented plaintiff from the right to benefit
       State and Federal Statute of · limitations of Two years whereupon the timely
       construction and          filing     within     such time,          this instant complaint,               would
       have been possible.



              (8)     Plaintiff        respectfully          suggests      that      this    Court     re-read     the
       complaint at paragraph 134, Third line down after ''6/6/2017" and then read
       the proposed amended complaint and there is inserted the words "202 days
       caused ·the ·unauthorized obstruction .of access to legal materials and written
       log    book    documentations        comprising           times,     dates,     names    and     information
       specifically necessary -to file this 42 USC 1983. with proper foundation, and
       the delay and loss of 202 days statute of limitations rights implicated in
       the construction and filing of initial complaint".  This was re-worded for


                                                            Page 2
    Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 4 of 9 PageID: 130


J   the express purpose of complying with your Honor's leave to file this proposed
    amended complaint where at page ( 17) under the heading "tolling"                           is a case
    Lake V. Arnold, 232 F. 3d 630,· 370 (3d Cir. 2000), this Court illustrated
     under     federal        law,     equitable    tolling     is   appropriate     in    three     general
     scenarios:        number 2 is applicable here "where extraordinary circumstances
     prevent a        plaintiff from asserting her claims" then this Honorable Court
     asserts        that    "iri this case,        plaintiff fails to artic:.ulate any basis for
     equitable tolling", but then goes on to offer that plaintiff may file a motion
     to amend the complaint along with proposed pleading (amended complaint) and
     brief stating the basis for equitable tolling;                      extraordinary circumstances
     in this instant case can,               with the amended complaint's word addition and
     re-reading the -initial (33) page complaint (ECF NO. 1),                        makes it clear that
     certain of the defendants intentionally prevented plainti;ff from accessing
     every piece of paper comprising the entire file (work product) of this law
     suit for 202 days November 16~ 2016 through to June 6, 2017.                                  No person
     constructing a law suit             has every paper record of facts, times, dates, names,
     titles,        places        associated with the construction of a 42 USC 1983 law suit
     confiscated and obstructed so as to obfuscate and delay such construction
     this    created         an    extraordinary circumstance,        especially      in   view of     these
     certain defendants Scholtz and T.                 Case,    inter alia,     willful disregard of
     the     November        22,    2016 Court Order      by· Hon.    Charles   A.    Delehey      expressly
     requiring them to deliver the legal work to plaintiff                           once plaintiff had
     been classified and              "transferred"    to New Jersey State Prison, which occurred
     11/22/2016.           That Order is marked as exhibit "A" and attached hereto.



             ( 9)     Plaintiff also added words to paragraph "B" located in "claims
     for relief" . Eight lines down after the word possession he inserted                              "that
     caused 202 days loss of my statute of limitations to file this law suit.



             (10)     Plaintiff also added words to paragraph "E" of "claims for relief"
     Second line down -inserting after the word Scholtz "illegally caused 202 day
     obstruction to my (2) year statute of limitations to file thi·s instant law
     suit"




                                                       Page 3
       Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 5 of 9 PageID: 131
              ( 11)    And lastly,      plaintiff added words to paragraph "U" of f'relief
....   requested"       Second line down inserted after the words entitled to "including
       equita.ble tolling of. statute of limitations in this law suit for 202 days".



              (12)     Since the day of the illegal obstruction of access to said legal
       materials 11/16/2016 through to the day they were returned 6/6/2017 plaintiff
       was at all times diligent and aggressively attempting to be reunited with
       said legal materials          but all reasonable diligence, ·grievances filed and
       complaints       directly   to   New Jersey    Department    of   corrections    by    way   of
       Corrections Ombudsman was met at every turn with avoidance, obfuscation and
       deliberate indifference. It is beyond cavil that defendants are not permitted
       in equity,       from profiting from it's own misconduct see Oshiver V. Levin,
       Fishbein, .Sedran, & Berman, 38 F.3d 1380, 1387
       (3d Cir.1994).



              (13)     This Honorable Court by way of it's 7/23/2019 Order had the Court
       Clerk provide plaintiff a "transmittal" letter concerning procedure to be
       followed in sending Marshal the summons with 30 days, therefore, plaintiff
       asks this Court to stay service of the completed marshal forms until the
       Court rules on this motion to amend the complaint and in this way the marshal
       can serve this amended complaint, assuming the Court grants it's inclusion
       over     the   initial   (current)     (33)   page complaint.      Plaintiff retains the
       summons        forms     (USM-285    forms)   until   the    Court    provides        guidance.
       Additionally, it should be noted that plaintiff is still waiting additional
       summons (USM-285 forms) he requested (ECF NO. 21) which due to typographical
       error by plaintiff in filling out the ones initially sent to him which would
       necessitate a delay until the Court Clerk sends new ones.



              (14)     Wherefore, plaintiff respectfully requests this Court permit the
       amended complaint attached hereto to replace the original one screened by
       the Honorable Robert B. Kugler on July 23, 2019 as well as the issuance of
       a new Opinion and Order as to the Court may find appropriate.                   And for such
       other relief if any this Court may deem appropriate.              Respectfully Submitted.


       Dated:   M3/aJ),~
                                            Darius Heimer Gittens
       Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 6 of 9 PageID: 132

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          ANTHONY ALDORASiiATTORNEY ID 2?23-2011
          ASSISTANT DEPUTY PiUBLIC DEFEND~R
          OFFICE OF THE P1[BLip DEFENDER  ;
          THE WASHINGTON H(!)USE          i

          100 HIGH STREET 2ND FLOOR       i

          MOUNT HOLLY, NEW !JERSEY 08060  i

          (609)51S-3060

          STATE OF NEW JERSEiY                                                                 i ;             .SUPERIOR COURT OF NEW JERSEY
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                                               .Plabtiff, .                                                     LAW DMSION - CRIMINAL
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                       V.                                                                      .r :             System No. 12-2986
                                                                                                                Indictment No. 13-6-659-I
          DARIUS GITTENS
                                               Defendant.                                                                        ORDER

                       This matter having been brought befo;re the .court by Anthony Aldorasi Esq., for Darius
                                           .          I                    .                   I       !             ·              !
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          Gittens (D.O.B. 5/28/195? SBI # 875223E} qn emergent application t~ the court with Assist~t
                                                      I                                        I . .                                '
          Prosecutor Lisa Comme~tucci Esq. appefilfug pn behalf of the state and consenting to the order.

                       On the.           ,,;?,? /ll,JI           day of        ~e,,,k.2016,
                                                       i                                       j                             '      <    '    I




          IT IS ORDERED that ~e personal propertyJ. ~d paperwork belonging to Mr. Gittens, and                                               ip. tJ:ie
          custody of the Burlingto County Jail, shall 9e preserved by the Burlington County Jail. ·                                          :
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          IT IS FURTHER ORDERED upon Mr. Gi~ens be~g classified at KRAF and sent to an .

           appropriate State Prison ~acility the Burlington County Jail is to forward said paperwork and
                                           .           i                                       :                                              :


          property to Mr. Gittens a~ the appropriate St~te Prison Facility within :a re~onable amount ~f
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           Anthony C. Aldo~Hfrf                                                ·
           Attorney for Mr. Darius Gittens
           Dated: rl /        Lz.j,~                   :
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Case 1:18-cv-02519-RBK-KMW Document 23 Filed 08/27/19 Page 9 of 9 PageID: 135


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